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 1                                                                            The Honorable Benjamin H. Settle
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                                        UNITED STATES DISTRICT COURT FOR THE
 7                                        WESTERN DISTRICT OF WASHINGTON
 8   DALE GARCIA and JANA
     ARCHAMBEAU, husband and wife,                                       No. 3:19-cv-05597-BHS
 9
                                                           Plaintiffs,
10
                 v.
11
     THOMAS BENENATI and LORETTA
12   BENENATI, husband and wife and the                                  STIPULATED ORDER GRANTING
     marital community thereof; RYAN                                     DEFENDANTS’ MOTION FOR
13   LAYTON and JANE DOE LAYTON,                                         JUDGMENT ON THE PLEADINGS
     husband and wife and the marital
14   community thereof; ROBERT INGRAM
     and JANE DOE INGRAM, husband and                                    NOTE ON MOTION CALENDAR:
15   wife and the marital community thereof;                             May 29, 2020
     HEATH YATES and JANE DOE YATES,
16   husband and wife and the marital
     community thereof; MATT NILES and
17   JANE DOE NILES, husband and wife and
     the marital community thereof; STATE OF
18   WASHINGTON; WASHINGTON STATE
     PARKS AND RECREATION
19   COMMISSION; JOHN and JANE DOES 1-
     20 and the marital communities thereof, and
20   ABC CORPORATIONS 1-10,
21                                                     Defendants.
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     STIPULATED ORDER GRANTING STATE DEFS'                                  KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     MOTION FOR JUDGMENT ON THE PLEADINGS - 1                                              ATTORNEYS AT LAW
                                                                                     801 SECOND AVENUE, SUITE 1210
     3:19-cv-05597-BHS                                                                SEATTLE, WASHINGTON 98104
                                                                                          PHONE: (206) 623-8861
     1039-00012/19-5597 Garcia Stip Dismissing Certain Parties.docx                        FAX: (206) 223-9423
               Case 3:19-cv-05597-BHS Document 20 Filed 05/29/20 Page 2 of 3




 1               This matter having come before the Court on Defendants State of Washington and

 2   Washington State Parks and Recreation Commission’s Motion for Judgment on the

 3   Pleadings, and the Court having considered the Motion, and the parties stipulate as follows:

 4               IT IS HEREBY ORDERED THAT Defendants State of Washington and Washington

 5   State Parks and Recreation Commission’s Motion for Judgment on the Pleadings is granted,

 6   and all of Plaintiffs' claims against Defendants State of Washington and Washington State

 7   Parks and Recreation Commission are dismissed without prejudice.

 8
     DONE IN OPEN COURT THIS 29th DAY OF MAY 2020.
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                                                                      A
                                                                      BENJAMIN H. SETTLE
                                                                      United States District Judge
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16   Presented by:

17   KEATING BUCKLIN & MCCORMACK, INC., P.S.

18

19   By: /s/ Stewart A. Estes
        Stewart A. Estes, WSBA #15535
20      Jeremy W. Culumber, WSBA #35423
21
     Special Assistant Attorneys General for Defendants
22   THOMAS BENENATI and LORETTA BENENATI,
     RYAN LAYTON and JANE DOE LAYTON,
23   ROBERT INGRAM and JANE DOE INGRAM,
     HEATH YATES and JANE DOE YATES, MATT
24   NILES and JANE DOE NILES, STATE OF
25   WASHINGTON, and WASHINGTON STATE
     PARKS AND RECREATION COMMISSION
26

27
     STIPULATED ORDER GRANTING STATE DEFS'                                     KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     MOTION FOR JUDGMENT ON THE PLEADINGS - 2                                                 ATTORNEYS AT LAW
                                                                                        801 SECOND AVENUE, SUITE 1210
     3:19-cv-05597-BHS                                                                   SEATTLE, WASHINGTON 98104
                                                                                             PHONE: (206) 623-8861
     1039-00012/19-5597 Garcia Stip Dismissing Certain Parties.docx                           FAX: (206) 223-9423
               Case 3:19-cv-05597-BHS Document 20 Filed 05/29/20 Page 3 of 3




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 4   Approved as to form,
     notice of presentation waived:
 5

 6   LEEMON + ROYER, PLLC
 7
     By: /s/ Mark Leemon
 8
     Mark Leemon, WSBA #5005
 9   Attorney for Plaintiffs
     403 Columbia Street, Suite 500
10   Seattle, WA 98104
     Tel: 206-269-1100
11   Fax: 206-269-7424
12   leemon@leeroylaw.com

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     STIPULATED ORDER GRANTING STATE DEFS'                            KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     MOTION FOR JUDGMENT ON THE PLEADINGS - 3                                        ATTORNEYS AT LAW
                                                                               801 SECOND AVENUE, SUITE 1210
     3:19-cv-05597-BHS                                                          SEATTLE, WASHINGTON 98104
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